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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                          §
                                                 §          Case No. 22--60043
 FREE SPEECH SYSTEMS, LLC,                       §
                                                 §
                                DEBTOR.          §          Chapter 11 (Subchapter V)
                                                 §

                              SUPPLEMENTAL EXHIBIT LIST

 Judge:                      Hon. Christopher M. Lopez
 Hearing Date:               Tuesday, September 20, 2022
 Hearing Time:               1:00 p.m. (Central Standard Time)
 Party’s Name:               Free Speech Systems, LLC
 Attorney’s Name:            Ray Battaglia; Kyung S. Lee; RJ Shannon
 Attorney’s Phone:           (713) 714-5770
 Nature of Proceeding:       Hearing on:
                                 Application of Debtor for an Order (A) Authorizing
                                    Employment of Shannon & Lee LLP as Bankruptcy Co-
                                    Counsel for the Debtor, and (B) Granting Related [ECF No.
                                    85] (the “S&L Application”)
                                   Application of Debtor for an Order (A) Authorizing
                                    Employment of W. Marc Schwartz as Chief Restructuring
                                    Officer, (B) Authorizing Employment of Staff of Schwartz
                                    Associates, LLC In Discharge of Duties as Chief Restructuring
                                    Officer, and (C) Granting Related [ECF No. 83] (the “CRO
                                    Application”)


          Free Speech Systems, LLC, the debtor and debtor in possession in the above captioned

chapter 11 case (the “Debtor”), hereby submits this supplemental exhibit list in connection with

the hearing to be held on Tuesday, September 20, 2022, at 1:00 p.m. (Central Standard Time) (the

“Hearing”) on the S&L Application and the CRO Application.
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                                  SUPPLEMENTAL EXHIBITS

         In addition to the exhibits designated by the Debtor on September 16, 2022 [ECF No. 163],

  the Debtor may offer for admission into evidence any of the following exhibits, and any exhibit

  designated by any other party, at the Hearing:


                                                                              Admitted
Ex.                   Description                      Offered   Objection      /Not       Disposition
                                                                              Admitted

35    Emails dated June 5, 2022, among Kyung
      Lee and Marc Schwartz re Schwartz
      Engagement Letter.

36    Kyung Lee comments to Marc Schwartz
      draft of Engagement Letter on June 5, 2022

37    Additional Emails dated June 5, 2022,
      among Kyung Lee and Marc Schwartz re
      Schwartz Engagement Letter.

         The Debtor reserves the right to supplement, amend or delete any witness and exhibits prior

  to the hearing. The Debtor also reserves the right to use any exhibits presented by any other party

  and to ask the Court to take judicial notice of any document. The Debtor finally reserves the right

  to introduce exhibits previously admitted.

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Dated: September 20, 2022

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                                    Proposed Co-Counsel to the Debtor and Debtor-In-
                                    Possession

                                    -and-

                                    SHANNON & LEE LLP

                                    /s/ R. J. Shannon
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